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To The Honorable Ronnie White, District Court Judge,

        I am writing this letter on behalf of my son, Jared Diehl, who is very intelligent, caring,
and loving. He has two younger brothers who recently graduated high school, and he views
himself as a role model for them to get a college education. I am very proud of his hard work,
which led him to graduate from college with honors in the spring of 2021, so he could start his
future career and become independent. He consistently displayed a solid academic work ethic
and was motivated to reach his goals no matter the difficulty. His goal was to become a
professional programmer, using the skills he started to teach himself in high school.

        Jared’s transition to college was successful. He showed a massive turnaround from the
middle and high school challenges. The difficulties were due to ADHD, social anxiety, and
depression. He created several new relationships at the beginning of college. Jared responded
successfully to extensive therapy during high school from Crider Behavioral Health, FACT
Partnership with Families, and the school’s homebound classes with his IEP (Individual
Education Plan). He also received support from Vocational Rehabilitation from the State of
Missouri. He was diagnosed on the autism spectrum with symptoms of Asperger’s syndrome,
and I feel he will benefit from continued treatment from professionals familiar with Asperger’s
and Autism.

        Jared was very proud to complete his Bachelor of Computer Science with a Minor in
Mathematics, obtaining a 4.0 GPA from UMSL, especially since his mother and I did not
complete college. Jared loves to learn and has received scholarships for UMSL. He was proud
to graduate Summa Cum Laude, as it was his ultimate goal. Jared saw the importance of a
college education to start a successful future. He attended LaunchCode concurrently to learn
more about computer programing and to meet more like-minded developers. He always tried to
work ahead, go above and beyond on projects, and help other students. He received
recommendations from his professors and did work at UMSL to support his professors. He
regularly stayed in the lab to study more, even if it meant sacrificing sleep. Students looked to
him as a lead when working on projects.

        Jared was well-behaved in school and respectful of the rules at home and school. He
played on roller hockey, soccer, and baseball teams as a child. His hobbies were skateboarding,
playing guitar, drawing, and building legos. Now, his hobbies are Rubik’s Cubes and Chess. At
18, he became interested in the Rubik’s Cube and quickly mastered many ways of solving it. He
has met many talented people with the same skill over the years at over a dozen national
competitions. In the summer of 2015, he was passionate about breaking the world record for the
most cubes solved underwater in a single breath, but in 2016 he decided that school was more
important to give focus. In 2017, he successfully organized two national competitions at St.



                                                                                               Ex. 3
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Charles Community College, each with 100 competitors. He enjoys discussing math ideas with
his younger brother and frequently does problems on the whiteboard at the house. He also
enjoys going to Cardinal baseball games, taking care of his dogs, kayaking, hiking, and fishing.
He sometimes takes things apart to see how they work. When he was 20, he witnessed a flock of
baby ducks trapped in a storm drain and felt the need for urgency to save them.

        Jared was employed at several companies while in college. He started his first job at
McDonald’s and pursued more significant roles of responsibility. Later, he joined Walmart and
Kohl’s to help pay for college. After completing general education at SCC, he joined Accenture
as an intern web developer for a short time. At the beginning of his time at UMSL, he started an
apprenticeship, with help from LaunchCode, at True Manufacturing, which became a full-time
position. After consistent study and hard work for several years, he landed his first meaningful
job at Infoscitex as a software engineer after graduating college. Jared was proud to pay off his
student loan after graduating and discussed returning to school several times to complete a
master’s degree. He was very passionate about his work; I observed him often going to work
early and staying late, willing to do more than required. I feel he has enormous potential. Since
his prosecution earlier this year, he has worked a warehouse position during the night shift at
Amazon.

         I acknowledge the crime that has brought Jared to the current situation and witness daily
Jared’s great remorse and shame for what he did. He has a robust support system from his
family, and I will always be available to support him. He displays a strong work ethic and a
tireless motivation to learn to become a productive member of society. Thank you for your time
and consideration.



Sincerely,




Erik J Diehl




                                                                                             Ex. 3
